  Filing #Case 9:23-cv-80344-AMC Document 1-8 Entered on FLSD Docket 03/02/2023 Page 1 of 5
           165767153   E-Filed 02/01/2023 01:37:54 PM


                         IN THE CIRCUIT COURT OF THE 15TH JUDICIAL CIRCUIT
                              IN AND FOR PALM BEACH COUNTY, FLORIDA


                                                            CASECASE
                                                                 NO.: NO.
                                                                      50-2022-CA-009847-XXXX-MB
          KWAMAIN ONEAL,

                Plaintiff,

          vs.




                                                                      PY
          CITY OF RIVIERA BEACH AND JOHN VANDERLAAN




                                                              CO
                Defendant(s),

           ___________________________________/




                                                         D
                                            SUMMONS
                                                      IE
                                                  IF
                                        RT

          THE STATE OF FLORIDA:

          TO EACH SHERIFF OF THE STATE:
                                 CE



          YOU ARE COMMANDED TO SERVE THIS SUMMONS AND A COPY OF THE
          COMPLAINT IN THIS ACTION ON DEFENDANT(S)
                             A




                CITY
                City ofOF RIVIERA
                        Riviera BeachBEACH
                                      MAYORC/O MAYOR
                                            RONNIE   RONNIE FELDER
                                                   FELDOR
                600 W. Blue Heron Boulevard
                       T




                RIVIERA BEACH FL 33404
                  O
                N




          EACH DEFENDANT IS REQUIRED TO SERVE WRITTEN ANSWER CONTAINING ALL
          DEFENSES OF LAW OR FACT TO SAID COMPLAINT ON PLAINTIFF’S ATTORNEY,
          WHOSE NAME AND ADDRESS IS

                ZEDRICK BARBER II, ESQUIRE
                THE BARBER FIRM, LLC
                4440 PGA BLVD. SUITE 600
                PALM BEACH GARDENS, FLORIDA 33410
                                                  1




FILED: PALM BEACH COUNTY, FL, JOSEPH ABRUZZO, CLERK, 02/01/2023 01:37:54 PM
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  “Si usted es una persona minusválida que necesita algún acomodamiento para poder participar en
  este procedimiento, usted tiene derecho, sin tener gastos propios, a que se le provea cierta ayuda.
  Tenga la amabilidad de ponerse en contacto con Tammy Anton, 205 N. Dixie Highway, West
  Palm Beach, Florida 33401; teléfono número (561) 355-4380, por lo menos 7 días antes de la
  cita fijada para su comparecencia en los tribunales, o inmediatamente después de recibir esta no-
  tificación si el tiempo antes de la comparecencia que se ha programado es menos de 7 días; si
  usted tiene discapacitación del oído o de la voz, llame al 711.”




                                                                              PY
  “Si ou se yon moun ki enfim ki bezwen akomodasyon pou w ka patisipe nan pwosedi sa, ou kali-
  fye san ou pa gen okenn lajan pou w peye, gen pwovizyon pou jwen kèk èd. Tanpri kontakte
  Tammy Anton, kòòdonatè pwogram Lwa pou ameriken ki Enfim yo nan Tribinal Konte Palm




                                                                    CO
  Beach la ki nan 205 North Dixie Highway, West Palm Beach, Florida 33401; telefòn li se (561)
  355-4380 nan 7 jou anvan dat ou gen randevou pou parèt nan tribinal la, oubyen imedyatman
  apre ou fin resevwa konvokasyon an si lè ou gen pou w parèt nan tribinal la mwens ke 7 jou; si
  ou gen pwoblèm pou w tande oubyen pale, rele 711.”




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